       Case 2:22-mc-00002-SAB       ECF No. 2   filed 04/11/22   PageID.17 FILED
                                                                           Page      1 of 2
                                                                                 IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON



                                                                       Apr 11, 2022
1                          UNITED STATES DISTRICT COURT                    SEAN F. MCAVOY, CLERK



                         EASTERN DISTRICT OF WASHINGTON
2

3     In Re                                         No. 2:22-MC-0002-SAB

4     GERALD JOHN MOBERG,                           ORDER CLOSING DISCIPLINARY
                                                    FILE
5                               Lawyer.

6          On April 7, 2022, the District Court Executive/Clerk of Court filed the

7    Notice of Disciplinary Action from the Washington State Bar Association. The file

8    reflects that Gerald John Moberg entered into a Stipulation to Admonition.

9          The Court has reviewed the file in this matter and is fully informed.

10   Whereas the offending conduct was not perpetrated in this Court and the

11   Washington State Bar Association has imposed an appropriate admonishment, this

12   Court will not proceed with further discipline in this Court.

13         ACCORDINGLY, IT IS ORDERED:

14         Pursuant to LCivR 83.3(b), this matter is closed. The District Court

15   Executive is directed to send a copy of this Order to Mr. Moberg at his address of

16   record.

17         DATED April , 2022.

18

19                       ___________________________________
                          ______________________________    ___
                                STANLEY
                                STAN NLEY A A. BASTIAN
20                           Chief United States District Judge




     ORDER CLOSING DISCIPLINARY FILE ~ 1
       Case 2:22-mc-00002-SAB      ECF No. 2    filed 04/11/22   PageID.18 Page 2 of 2




1                          CERTIFICATE OF SERVICE
2

3    I hereby certify that I served said attorney with the Order Closing Disciplinary
     File using the following methods on April 11, 2022:
4

5    ց Service by ECF email account; and
6
     ‫܈‬     First Class mail to the public mailing address listed in the Washington State
7          Bar Association’s Lawyer Directory:

8                 Gerald John Moberg
                  238 W Division Ave
9                 Ephrata, WA 98823-1848

10
                                                        ___________
                                                                  _____
                                            Signature: ______________________
11
                                            Date: April 11, 2022
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     ORDER CLOSING DISCIPLINARY FILE ~ 2
